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     PROB 12A
     (7/!13)


                                           United States District Court
                                                        for
                                              District of New Jersey
                                      Report on Offender Under Supervision

     Name of Offender: Charles Myers                                                                                  Cr.:03-00 120-002
                                                                                                                       PACTS #: 35265
     Name of Sentencing Judicial Officer: Honorable Katharine S. Hayden

     Date of Original Sentence: 06/26/06

     Original Offense :Conspiracy to Commit Mail Fraud; Fraud Swindles

     Original Sentence: 60 months imprisonment. On November 18,2011, Your Honor ordered the sentence be
     converted to time served as of that date. A one-year-term of supervised release was imposed.

     Type of Supervision: Supervised Release                                         Date Supervision Commenced: 11/18/11

                                            NONCOMPLIANCE SUMMARY

     The offender has not complied with the following condition(s) of supervision:

     Violation Number          Nature of Noncompliance

                               Myers • supervised release term is scheduled to expire on November 17, 2012, and he has
                               an outstanding restitution obligation of$ 2,574,730.41. The offender has satisfied his
                               special assessment fee, and has been in compliance with the payment schedule.

     U.S. Probation Officer Action:

~ The probation office recommends that the offender's supervised release term be allowed to expire on November 17,
-~ 2012. The probation office requests the Financial Litigation Unit commence collection of the outstanding financial
   obligation upon expiration of supervision.

                                                                            Respectfully submitted,




                                                                            By: Kellyanne Kelly
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                                                                             Maureen Kelly::.=::;:.::.=::.
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                                                                                 Senior U.S. Probation Officer
                                                                            Date: 07/16/12
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            No Response is necessary unless tile court directs tllat tultlititmal action be taken as follows:

      Submit a Request for Modifying the Conditions or Term of Supervision

  [ ] Submit a Request for Warrant or Summons


 rafhcr ~
                                                                                   Signature of Judicial Ofliccr




                                                                                              Date
